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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                             NORTHERN DIVISION AT ASHLAND
                                 CASE NO. 15-cv-112-HRW

Ray Fultz, Executor of the                                                            PLAINTIFF
Estate of Plummer Fultz

v.

Diversicare Leasing Corp. d/b/a
Elliott Nursing & Rehabilitation Center                                              DEFENDANT

                                 NOTICE OF SETTLEMENT

       Defendant, Diversicare Leasing Corp. d/b/a Elliott Nursing & Rehabilitation Center in

compliance with L.R. 54.1 hereby provides notice of the settlement of this action. The parties

will tender an agreed stipulation to dismissal with prejudice in the coming weeks.




                                             Respectfully submitted,

                                             GWIN, STEINMETZ & BAIRD, PLLC


                                             /s/ Kevin M. Murphy
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this the 25th day of August, 2017, I electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system.

       I further certify that on the same date a true and correct copy of the foregoing was mailed,

first-class mail, postage pre-paid, to the following:

Patrick Flannery
Patrick Flannery Law, PLLC
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Co-Counsel for Plaintiff

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                                                        /s/ Kevin M. Murphy
                                                        COUNSEL FOR DEFENDANT




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